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                                    IN THE UNITED STATES DISTRICT COURT
                                    FOR THE NORTHERN DISTRICT OF TEXAS
                                             AMARILLO DIVISION



ANDREW PAUL JIMENEZ,                                 §
                                                     §
           Petitioner,                               §
                                                     §
v.                                                   §           2:05-CV-0165
                                                     §
DOUGLAS DRETKE, Director,                            §
Texas Department of Criminal Justice,                §
Correctional Institutions Division,                  §
                                                     §
           Respondent.                               §



                                REPORT AND RECOMMENDATION TO DENY
                                PETITION FOR A WRIT OF HABEAS CORPUS

           Petitioner ANDREW PAUL JIMENEZ has filed with this Court a petition for a writ of

habeas corpus challenging an January 12, 2005 prison disciplinary proceeding and the resultant

punishment including, “45 [days] recreation, commissary, property and cell restrictions; 10 days

PHD, reduction in class from S4 to L2, from G2 to G4 (sent to med custody 1 yr.).” The

disciplinary proceeding took place at the Clements Unit in Potter County, Texas. As of the date

the instant habeas application was filed, petitioner was still incarcerated at the Clements Unit.

           In order to challenge a prison disciplinary adjudication by way of a federal petition for a

writ of habeas corpus, a petitioner must, at a minimum, be eligible for mandatory supervised

release and have received a punishment sanction which included forfeiture of previously accrued

good time credits. See Malchi v. Thaler, 211 F.3d 953, 958 (5th Cir. 2000). In his habeas

application, petitioner advises he is in respondent’s custody pursuant to a conviction for the first


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degree felony offense of aggravated assault on a public servant out of Randall County, Texas,

and the resulting 30-year sentence. Petitioner has acknowledged that he is not eligible for

mandatory supervised release. (Petitioner’s Application at 5). See also Tex. Gov’t Code §

508.149(a)(7). Since petitioner is not eligible for mandatory supervised release due to his

conviction for aggravated assault on a public servant, he is not entitled to any federal habeas

corpus relief.


                                          RECOMMENDATION

           It is the RECOMMENDATION of the undersigned United States Magistrate Judge to the

United States District Judge that the petition for a writ of habeas corpus filed by petitioner

ANDREW PAUL JIMENEZ be DENIED.


                                      INSTRUCTIONS FOR SERVICE

           The United States District Clerk is directed to send a file-marked copy of this Report and

Recommendation to petitioner by the most efficient means available.

           IT IS SO RECOMMENDED.

           ENTERED this 8th day of June 2005.


                                                  _______________________________
                                                  CLINTON E. AVERITTE
                                                  UNITED STATES MAGISTRATE JUDGE



                                    * NOTICE OF RIGHT TO OBJECT *

        Any party may object to these proposed findings, conclusions and recommendation. In
the event a party wishes to object, they are hereby NOTIFIED that the deadline for filing
objections is eleven (11) days from the date of filing as indicated by the file mark on the first
page of this recommendation. Service is complete upon mailing, Fed. R. Civ. P. 5(b), and the

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parties are allowed a 3-day service by mail extension, Fed. R. Civ. P. 6(e). Therefore, any
objections must be filed on or before the fourteenth (14th) day after this recommendation is
filed. See 28 U.S.C. § 636(b); Fed. R. Civ. P. 72(b); R. 4(a)(1) of Miscellaneous Order No. 6, as
authorized by Local Rule 3.1, Local Rules of the United States District Courts for the Northern
District of Texas.

        Any such objections shall be made in a written pleading entitled “Objections to the
Report and Recommendation.” Objecting parties shall file the written objections with the United
States District Clerk and serve a copy of such objections on all other parties. A party’s failure to
timely file written objections to the proposed findings, conclusions, and recommendation
contained in this report shall bar an aggrieved party, except upon grounds of plain error, from
attacking on appeal the unobjected-to proposed factual findings, legal conclusions, and
recommendation set forth by the Magistrate Judge in this report and accepted by the district
court. See Douglass v. United Services Auto. Ass’n, 79 F.3d 1415, 1428-29 (5th Cir. 1996);
Rodriguez v. Bowen, 857 F.2d 275, 276-77 (5th Cir. 1988).




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